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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

____________________________________
                                    )
UNITED STATES OF AMERICA            )
                                    )
            v.                      )                 Criminal No. 19-10078-RWZ
                                    )
WILLIAM “RICK” SINGER,              )
                                    )
            Defendant               )
____________________________________)

            GOVERNMENT’S SENTENCING MEMORANDUM AND
     MOTION FOR DOWNWARD DEPARTURE PURSUANT TO SECTION 5K1.1

       The government respectfully submits this sentencing memorandum and motion, pursuant

to Section 5K1.1 of the United States Sentencing Guidelines (the “Sentencing Guidelines”), in

connection with the sentencing of defendant William “Rick” Singer.

       Singer was the architect of a massive, decade-long scheme to use fraud and bribery to

secure the admission of high school students to elite colleges and universities across the country.

The unraveling of that scheme as part of the government’s Operation Varsity Blues ultimately led

to the conviction of more than 50 parents, coaches, and Singer associates. Sentences in the Varsity

Blues cases have ranged from probation to 30 months in prison. As the orchestrator and leader of

the scheme, the most culpable participant in it, and the defendant who profited from it the most,

Singer deserves a sentence significantly exceeding the high end of that range. For years, he

operated his college counseling and preparation business, “The Key,” as well as an associated non-

profit entity that purported to provide educational and self-enrichment programs for disadvantaged

youth, The Key Worldwide Foundation (“KWF”), as a criminal enterprise, securing the admission

of his clients’ children to college by paying off test proctors and administrators to cheat on college

entrance exams and bribing college athletic coaches and administrators to designate applicants as
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athletic recruits based on fabricated credentials. As part of the scheme, Singer took in more than

$25 million from his clients and paid bribes totaling more than $7 million. He transferred, spent,

or otherwise used more than $15 million of his clients’ money for his own benefit. Staggering in

scope, Singer’s scheme was also breathtaking in its audacity and the levels of deception it involved.

His corruption and manipulation of others were practically limitless. Singer is far and away the

most culpable of the Varsity Blues defendants – by orders of magnitude – and is therefore

deserving of the longest sentence, notwithstanding his cooperation with the government’s

investigation, which as discussed below, was exceptionally valuable and, at the same time, plagued

by missteps.

       For these reasons, and in light of the additional considerations set forth below, the

government respectfully recommends that Singer be sentenced to a term of 72 months in prison

followed by 36 months of supervised release and that he be ordered to pay restitution to the Internal

Revenue Service in the amount of $10,668,841 and to forfeit (a) specific assets traceable to his

criminal offense, with a value in excess of $5.3 million1 and (b) approximately $3.4 million in the

form of a forfeiture money judgment (see ECF No. 87).

I.     Overview of the Offense Conduct

       It is difficult to overstate the scale and intricacy of Singer’s scheme and nearly impossible

to recount in detail every instance of fraud and bribery it involved. The Presentence Report

(“PSR”) provides an overview of the college entrance exam cheating and the fake athletic

recruitment aspects of the scheme, describes how Singer explained the scheme to prospective

clients, and sets forth examples of how the scheme worked in the instances of two families who



       1
          The Court endorsed a final order of forfeiture for these specific assets on February 5,
2020 (ECF No. 49). Pursuant to Federal Rule of Criminal Procedure 32.2(b)(4)(B), the Court must
also include the forfeiture order, directly or by reference, in the judgment.
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agreed with Singer both to cheat on the ACT and/or SAT on behalf of their children and to secure

their children’s admission to college as phony athletic recruits. In addition to those forms of fraud

and bribery, Singer and his co-conspirators falsified students’ academic transcripts by paying third

parties to take classes in their names and falsified their college applications by adding fake awards,

athletic achievements, and other activities.

       Singer and his co-conspirators concealed the scheme by funneling bribe and other

payments through The Key or KWF, including by disguising payments as purported charitable

contributions, which had the added benefit of allowing Singer’s clients to improperly deduct the

payments from their federal income taxes. Singer caused KWF to issue letters falsely attesting that

the purported donations – which actually funded the bribe and other payments in furtherance of

the scheme – would help “provide educational and self-enrichment programs to disadvantaged

youth” and that “no goods or services were exchanged” for the money. In addition to allowing his

co-conspirators to earn tax deductions on bribe payments, this method also allowed Singer to evade

taxes by failing to report the payments as income, resulting in his failure to pay taxes totaling

approximately $10 million on his criminal proceeds.

       As discussed further below, upon being approached by law enforcement agents in

September 2018, Singer agreed to cooperate with the government’s investigation of his co-

conspirators, including by making consensually recorded phone calls. At the same time, while

feigning cooperation with the government’s investigation, Singer covertly warned several of his

co-conspirators about the investigation, including by having in-person meetings that he did not

disclose to agents and by using a phone of which agents were not aware. In those communications,

Singer instructed the co-conspirators to cease their criminal activity and told them that if they were

to receive a phone call from him, it would likely be recorded and that they should therefore deny



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participation in the scheme. In this way, Singer obstructed justice with respect to at least six

families who either participated in the scheme or were planning to do so.

II.    The Applicable Sentencing Guidelines

       Singer pled guilty to a four-count Information charging him with conspiracy to commit

racketeering, conspiracy to commit money laundering, obstruction of justice, and conspiracy to

defraud the United States. The government submits, in accordance with the parties’ plea

agreement, that Singer’s total offense level under the Sentencing Guidelines is 36. That calculation

reflects a base offense level of 7 in accordance with Sections 2E1.1(a)(2) and 2B1.1(a)(1); a 22-

level increase based on the gain from the offense; a 2-level increase pursuant to Section

2S1.1(b)(2)(B), because Singer was convicted under 18 U.S.C. § 1956; a 4-level increase based

on Singer’s role as an organizer/leader of the criminal activity; a 2-level increase under Section

2B1.1(10)(C), because the offense involved, and Singer intentionally engaged in or caused the

conduct constituting, sophisticated means; a 2-level increase under Section 3C1.1, because Singer

willfully obstructed the investigation of the instant offense of conviction; and a 3-level decrease

pursuant to Section 3E1.1 for acceptance of responsibility. The resulting Guidelines sentencing

range is 188 to 235 months.

       The Probation Office calculates the Sentencing Guidelines differently, using the default

racketeering offense level of 19, on the basis of its determination that there was no loss from the

offense. As it has in all the Varsity Blues cases, Probation takes the position that there are no

identifiable victims of the offense and no evidence that any individual or entity suffered an actual

financial loss or that there was any reasonably foreseeable pecuniary harm to the testing agencies

or universities impacted by the scheme. Probation therefore declines to apply an offense-level

enhancement for gain as an alternative measure of loss. The government continues to disagree with



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the Probation Office’s conclusion, for the reasons it has previously elucidated in the related

sentencings, including that of defendant John Vandemoer. See United States v. John Vandemoer,

19-CR-10079-RWZ. At the same time, the government recognizes that its position has been

rejected by several sessions of this Court, including this one.

       In the context of sentencing Singer, however, the logic the Probation Office has used to

justify its position is particularly inapt. To take just one example from the government’s objections

to the PSR, Probation’s view that there should be no enhancement based on the bribe amount

suggests that Singer – who was involved in paying dozens upon dozens of bribes totaling millions

of dollars, for both the test cheating and fraudulent athletic recruitment aspects of the scheme – is

no more culpable than a parent who engaged in a single aspect of the scheme only once. While

Probation agrees that Singer merits an enhancement for his aggravating role in the offense,

Probation acknowledges that this adjustment “may not adequately capture the defendant’s

culpability and the monetary payments that he received over the duration of the conspiracy,” and

agrees with the government that the Court should consider the value of the payments Singer

received and the bribes he paid “in evaluating the seriousness of the offense.” PSR at 55, 56.

       In any event, the government does not intend to further pursue its objections to the

Probation Office’s calculation – which results in a total offense level of 28 and a corresponding

Guidelines sentencing range of 78 to 97 months – in light of its ultimate sentencing

recommendation of 72 months.

III.   Singer’s Cooperation

       While Singer agreed to cooperate with the government’s investigation upon being

approached by law enforcement agents, he did so reluctantly. He initially minimized his criminal

conduct and failed to be completely truthful. During the early period of his cooperation, he not



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only obstructed the investigation by tipping off at least six of his clients, as set forth above, but

also failed to follow the government’s instructions in other ways, including by deleting text

messages and using an unauthorized cell phone.

       Nevertheless, Singer’s cooperation was also hugely significant. He agreed to a consensual

wiretap of his phone that lasted several months, during which time he made hundreds of recorded

calls at the government’s direction with dozens of targets of the investigation. He also wore a wire

to record several targets in person. Although he did not consistently follow the government’s

instructions in making them, the recordings permitted the government to prosecute dozens of

parents and other co-conspirators who otherwise would have escaped charges because of the

historical nature of their conduct and the difficulty of proving their criminal intent in the absence

of recorded admissions.

       Singer’s historical cooperation was equally significant. Over the course of dozens of

proffer sessions, he provided information on dozens of targets who had worked with him over the

course of many years. The information Singer provided allowed the government to obtain search

warrants for the email accounts of many parents and other co-conspirators, which resulted in the

seizure of crucial evidence of their knowing and willful participation in the scheme. While it is

difficult to attribute any specific plea to Singer, his decision to cooperate, and the evidence

obtained as a result of his cooperation, unquestionably led to the guilty pleas of many parents,

coaches, and other participants in the scheme.

       Singer also agreed to forfeit specific assets traceable to his offense, with a value in excess

of $5.3 million.2 He further agreed to the entry of a forfeiture money judgment in the amount of



       2
        The specific assets that Singer agreed to forfeit include: (a) two KWF bank accounts with
a combined balance of $5,148,328.16; (b) KWF’s investment in Jamtown, which the government
disposed of for $100; (c) KWF’s investment in Hauser Private Equity, for which the government
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$3,429,970.87 – representing proceeds that he obtained as a result of his crime beyond the specific

assets he agreed to forfeit – towards which he has already voluntarily paid $1,213,000.

       In short, Singer’s cooperation is unprecedented in scope in this District. At the same time,

he obstructed the government’s investigation, and the government ultimately chose not to call him

as a witness at trial. While Singer’s cooperation was both singularly valuable and singularly

problematic, it warrants a significant downward departure from the low end of the Sentencing

Guidelines range as calculated by the parties in their plea agreement.3

IV.    Sentencing Recommendation

       The government respectfully submits that the relevant factors under Section 3553(a)

support the imposition of a meaningful sentence of incarceration that significantly exceeds those

imposed on all other defendants sentenced in the Varsity Blues cases. Singer conceived and created

the nationwide network of corrupt test proctors and administrators and college athletic coaches

and administrators who helped implement his scheme and allowed it to succeed on the

unprecedented scale that it did. His clients are certainly not the first to have cheated on college

entrance exams, or to have paid corrupt coaches to give up recruitment slots, but Singer developed




recovered $131,714.96; and (d) KWF’s investment in Versatile PhD, for which the government
recovered $24,000. From these specific assets, the government has recovered a total of
$5,304,143.12. The United States Marshals Service is in the process of disposing of the remaining
specific assets, including KWF’s interest in Swansea Football Club, Sharky’s Restaurant Chain,
Wham Tech, Inc., and Bluestone Partnership, which should result in additional recoveries.
       3
           The government believes that its 72-month sentencing recommendation is appropriate
even if the Court adopts the Probation Office’s lower Guidelines calculation. As the Probation
Office acknowledges, that calculation understates the seriousness of Singer’s offense and his role
in it. At the same time, the Court in imposing a sentence must take account of other factors that
push in different directions, including the value of Singer’s cooperation, his numerous missteps
while cooperating, and the sentences imposed on others involved in his scheme. Taken together,
these factors likewise support a sentence of 72 months, for all the reasons set forth in greater detail
below.
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a massive criminal enterprise purpose-built to execute such fraud on an industrial scale. And he

created a market for his fraud, promoting the scheme to parents who – while eager and willing

participants in the crime – would otherwise not have engaged in it on their own. He found demand

in his wealthy and overprivileged clients, and helped to stoke it by convincing them that their

children would not be admitted to the college of their choice without using his illicit services.

Likewise, he established a network of corrupt test proctors and administrators who were willing to

permit cheating to supplement their income, and college athletic coaches and administrators who

were willing to sell their recruitment slots to bolster their fundraising efforts, their salaries, or both.

All of these players were integral to the scheme’s success, but without Singer, the scheme never

would have happened. He was the architect and mastermind of a criminal enterprise that massively

corrupted the integrity of the college admissions process – which already favors those with wealth

and privilege – to a degree never before seen in this country.

        Singer’s culpability surpasses by leaps and bounds that of any other participant in his

conspiracy, including participants who received significant prison sentences. The longest sentence

to date – 30 months – was imposed on former Georgetown University tennis coach Gordon Ernst,

who accepted nearly $3.5 million in bribes in exchange for falsely designating at least 22 students

as tennis recruits. Ernst’s conduct was egregious, and his sentence was, if anything, too light. But

he was also just one coach at one university. Singer, on the other hand, bribed not just Ernst, but

also coaches and administrators at multiple other universities – the University of Southern

California, the University of California at Los Angeles, Yale University, Stanford University, the

University of Texas at Austin, and Wake Forest University – to secure the admission of dozens

upon dozens of applicants as phony athletic recruits. And, of course, that was only one part of

Singer’s scheme. Ernst had no involvement in the test cheating aspect of the scheme, which



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involved fraudulent test centers Singer established in two states, where corrupt proctors and

administrators on Singer’s payroll falsified standardized test results for dozens more students. And

Ernst likewise had no involvement in the other college applications Singer directed his staff to

falsify, or the classes he directed them to take in the names of his clients’ children, thereby inflating

their academic transcripts. For these reasons, too, Singer merits a substantially longer sentence.

Moreover, while Ernst accepted $3.5 million in bribes, Singer paid bribes totaling more than twice

that amount. He also used more than $15 million of his clients’ bribe money for his own benefit,

lying to his co-conspirators in the process. Simply put, Singer’s culpability stands in a league of

its own. No other defendant’s involvement was as extensive, nor was any co-conspirator’s conduct

more deceptive, corruption more deep-rooted, or lies more pervasive than Singer’s. His sentence

should, and must, reflect that singularity.

        A significant sentence of imprisonment is necessary not only to reflect the nature and

seriousness of Singer’s offense and his degree of culpability as compared to other Varsity Blues

defendants, but also for purposes of general deterrence. As the Varsity Blues cases have made

clear, it was all too easy for Singer to corrupt the nation’s college admissions process – on a

massive scale for over a decade – by paying off those who were supposed to serve as gatekeepers

and stewards of higher education in this country. It is difficult for universities, and criminal

authorities, to detect and prevent such fraud. While Operation Varsity Blues has caused

universities across the country to institute unprecedented reforms aimed at curtailing the abuses

that occurred here, there is ultimately no surefire way to safeguard against criminal ingenuity.

Loopholes – and those willing to exploit them for money – will remain. Singer’s sentence should

serve as a warning to anyone who might consider picking up where he left off.




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       Singer’s sentence must also reflect the need for specific deterrence. Unlike many of the test

proctors and administrators and college athletic coaches and administrators who will never again

be in a position to commit the same crime, Singer might be. There is no licensing requirement for

college admissions coaches, and no way to prevent Singer from returning to what he himself

characterizes as a criminal “way of life,” fueled by his desire to “win[] at all costs.” Ex. B to Def.’s

Sentencing Mem. (Def.’s Statement), ECF No. 90-1. Whether as a college admissions coach, or in

some other post-prison endeavor, Singer will undoubtedly face circumstances and opportunities

that require him to choose between right and wrong. A substantial term of incarceration is critical

to remind him of the consequences of crossing that line, and necessary to protect society from his

wrongdoing.

                                              CONCLUSION
       For the foregoing reasons, the government respectfully requests that the Court sentence

Singer to a term of imprisonment of 72 months, followed by 36 months of supervised release, and

order (a) restitution to the Internal Revenue Service in the amount of $10,668,841, (b) forfeiture

of specific assets with a value in excess of $5.3 million, and (c) a forfeiture money judgment in

the amount of approximately $3.4 million.

                                                       Respectfully submitted,

                                                       RACHAEL S. ROLLINS
                                                       United States Attorney

                                               By:     /s/ Leslie A. Wright
                                                       LESLIE A. WRIGHT
                                                       KRISTEN A. KEARNEY
                                                       STEPHEN E. FRANK
                                                       Assistant United States Attorneys




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                                    Certificate of Service
       I hereby certify that this document was filed through the ECF system on December 28,
2022 and will be sent electronically to the registered participants identified on the Notice of
Electronic Filing (NEF).

                                           By:     /s/ Leslie A. Wright
                                                   LESLIE A. WRIGHT
                                                   Assistant United States Attorney




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